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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

   IRA KLEIMAN, as personal representative of
   the estate of David Kleiman, and W&K INFO
   DEFENSE RESEARCH, LLC

          plaintiffs,
   v.                                                            Case No. 9:18-cv-80176 (BB/BR)

   CRAIG WRIGHT,

         defendant.
   _____________________________________/

   MEMORANDUM OF LAW IN SUPPORT OF DR. CRAIG WRIGHT’S BILL OF COSTS

          Dr. Craig Wright submits this memorandum of law in support of his Bill of Costs

  pursuant to 28 U.S.C. § 1920 and Local Rule 7.3(c), and states:

          I.      Dr. Craig Wright is the Prevailing Party as to the Estate

          The Estate of David Kleiman (the “Estate”) brought this action against Dr. Craig Wright

   asserting claims for breach of contract, conversion, civil theft, fraud, constructive fraud, and

   unjust enrichment. The Estate also asserted a claim for punitive damages. After a complex, three-

   week long trial, the jury returned a verdict in favor of Dr. Wright on all claims brought against

   him by the Estate. Indeed, the Estate did not prevail on a single claim against Dr. Wright, and the

   Estate was awarded no damages, even though it claimed it was entitled to approximately $600

   billion in damages. “A defendant is a prevailing party if the plaintiff achieves none of the

   benefits sought in bringing its lawsuit.” Picket v. Iowa Beef Processors, 149 Fed. Appx. 831, 832
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   (11th Cir. 2005); Katz v. Chevaldina, 127 F. Supp. 3d 1285, 1292 (S.D. Fla. 2015) (Defendant

   was the prevailing party where judgment was entered in favor of defendant on all counts.).1

          In addition, the Estate failed to prevail on any significant issue in this litigation. See

   Wendy’s Intern., Inc. v. Nu-Cape Const., Inc., 164 F.R.D. 694, 698 (M.D. Fla. 1996) (citing

   Hensley v. Eckerhart, 461 U.S. 424, 433 (1983) (To be considered a prevailing party, a party

   must succeed “on any significant issue in the litigation.”). Here, plaintiffs brought this case under

   a theory that a partnership existed between David Kleiman and Dr. Wright to create and mine

   bitcoin, and the bulk of the evidence and testimony submitted at trial related to this theory. At the

   end of the case, the jury affirmatively found that there was no oral partnership, and that the

   Estate was not entitled to any bitcoin.

          As such, Dr. Wright is the prevailing party as to the claims brought by the Estate and is

   presumptively entitled to an award of costs as set forth below.2 See Federal Rule of Civil

   Procedure 54(d).

          II.      Specific Costs Sought Under 28 U.S.C. § 1920

          Dr. Wright seeks to recover taxable costs totaling $107,674.28 as set forth in his Bill of

   Costs and supporting documentation. All costs requested by Dr. Wright are reasonable,

   customary, and taxable pursuant to 28 U.S.C. § 1920. A breakdown of all costs is attached hereto

   as Exhibit A.



   1
     Although judgment was entered in favor of W&K on its conversion claim, Dr. Wright is still
   the prevailing party as to the Estate. In cases with multiple plaintiffs, a defendant can prevail
   against some plaintiffs and not others. See e.g. Dewitt v. Daley, 2007 WL 9698830, at *1 (S.D.
   Fla. 2007) (adopting report and recommendation Dewitt v. Delay, 2007 WL 9698324) (S.D. Fla.
   2007) (finding that plaintiffs Golino, Christowsky, and Lovejoy prevailed against defendant on
   their claims, but that the defendant was the prevailing party against all other plaintiffs).
   2
    Dr. Wright does not seek any costs directly related to the intellectual property, which is the
   subject of W&K Info Defense Research, LLC’s conversion claim.

                                                     2
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           Dr. Wright seeks $5,435.00 in fees for serving of subpoenas and witness summonses

   pursuant to 28 U.S.C. § 1920(1). True and correct copies of documents supporting this request

   are attached hereto as Exhibit B.

           Dr. Wright seeks $97,627.95 in fees for transcripts necessarily obtained for use in this

   case pursuant to 28 U.S.C. § 1920(2), including deposition transcripts, trial transcripts, and

   hearing transcripts. The deposition transcripts were necessary for use in this case because the

   deponent either testified at trial, were listed as witnesses on plaintiffs’ witness list, served as

   plaintiffs’ proposed experts or rebuttal experts to plaintiffs’ proposed experts, or their

   depositions were admitted into evidence. See U.S. E.E.O.C. v. W&O, Inc., 213 F. 3d 600, 621-22

   (11th Cir. 2000). In addition, the hearing transcripts are recoverable because the transcripts were

   necessary to review the Court’s legal reasoning, to draft proposed orders, and to resolve

   discovery disputes without court intervention. See Gustave v. SBE ENT Holdings, LLC, 2021

   WL 4463149, at *4 (S.D. Fla. Sept. 10, 2021), report and recommendation adopted, 2021 WL

   4428208 (S.D. Fla. Sept. 27, 2021). True and correct copies of documents supporting this request

   are attached hereto as Exhibit C.

           Dr. Wright seeks $4,167.54 for witness fees. 12 USC § 1821 provides that a witness “be

   paid an attendance fee of $40 per day for each day’s attendance,” and “all normal travel expenses

   outside the judicial district shall be taxable as costs” as well, which includes transportation and

   overnight accommodations when necessary. 28 U.S.C. § 1821 (b)-(c). True and correct copies of

   documents supporting this request are attached as Exhibit D.

           Further, Dr. Wright seeks $443.79 for fees for exemplification and the cost of making

   copies of materials necessarily obtained for use in the case pursuant to 28 U.S.C. § 1920(4). This

   total is comprised of electronic storage devices used to store electronic copies of the trial exhibits




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   and to provide electronic copies of the exhibits to the Court and plaintiffs. Providing electronic

   copies of the exhibits to the Court and the opposing party rather than paper copies was the most

   efficient and cost-effective way to provide copies of trial exhibits, as the exhibits were so

   voluminous in this matter. In addition, the Court requested electronic copies of the exhibits rather

   than paper copies. This total also includes the printing of mounted foam boards, which were used

   as demonstrative aids at trial and certified copies of pleadings from the probate matter of the

   Estate. True and correct copies of documents supporting this request are attached hereto as

   Exhibit E.

                                            CERTIFICATION

          Pursuant to Local Rules 7.1(a)(3), I hereby certify that counsel for the movant has

   conferred with all parties who may be affected by the relief sought in this motion in a good faith

   effort to resolve the issues and plaintiffs do not agree to the relief sought.

  Dated: January 20, 2022                                 Respectfully submitted,

                                                          By: s/Amanda McGovern
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                                  CERTIFICATE OF SERVICE

           I CERTIFY that on January 20, 2022, I electronically filed this document with the Clerk
   of the Court using CM/ECF. I also certify that the foregoing document is being served this day
   on all counsel of record via transmission of Notices of Electronic Filing generated by CM/ECF.

                                                   /s/ Amanda McGovern




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